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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                           )
                                                       )
                                Plaintiff,             )
                                                       )
                         vs.                           )      No. 1:12-cr-00102-TWP-DML
                                                       )
   TOMMY SIMS (45),                                    )
                                                       )
                                Defendant.             )




                  ORDER ADOPTING REPORT AND RECOMMENDATION

        On April 27, 2017, the Magistrate Judge submitted her Report and Recommendation regarding

 the United States Probation Office’s Petition for Warrant or Summons for Offender Under Supervision

 (Dkt. 3168). The parties were afforded due opportunity pursuant to statute and the rules of this Court

 to file objections; none were filed. The Court, having considered the Magistrate Judge’s Report and

 Recommendation, hereby adopts the Magistrate Judge’s Report and Recommendation.


        Date: 5/1/2017
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